Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 1 of 8
Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 2 of 8
   Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 3 of 8




Entered on Docket
July 01, 2014
Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 4 of 8
Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 5 of 8
Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 6 of 8
Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 7 of 8
Case 14-50333-gs   Doc 88-1   Entered 06/23/14 18:47:38   Page 8 of 8
